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RAYMOND A. CLARK,
Plaintiff,
VS. No. 1-04-1174-T-An

CHARLES TRAUGHBER, et al.,

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Defendants.

 

ORDER GRANTING DEFENDANTS’ MOTION FOR ADDITIONAL TIME TO
RESPOND TO MOTION FOR SUMMARY JUDGMENT AND COMPLAINT

 

Plaintiff Raymond A. Clark, Tennessee Departrnent of Correction prisoner number
292729, Who is currently an inmate at the West Tennessee State Penitentiary (“WTSP”) in
Henning, Tennessee, filed a pro se complaint pursuant to 42 U.S.C. § 1983 When he Was
denied parole while imprisoned at the Northwest Correctional Complex (“NWCX") in
Tiptonville, Tennessee. On December 6, 2004, this court stayed all proceedings in this case
pending the United States Supreme Court’s decision in Wilkinson v. Dotson, 125 S. Ct.
1242 (2005). The Wilkinson opinion Was issued on March 7, 2005, and subsequently, on
March 23, 2005, this court issued an order lifting the stay order and ordering Defendants to
respond to the complaint Within twenty (2 0) days. Defendants did not respond and Plaintiff
filed a motion for summary judgment

Before the court is Defendants’ motion for additional time to respond to the

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with Rule 58 and,'or_?$ (a) FRCP on

Case 1:04-cv-01174-.]DT-STA Document 20 Filed 05/13/05 Page 2 of 3 Page|D 11

complaint and asking the court to deny Plaintiff’s motion for summary judgment
Defendants argue that additional time is needed because they did not received a copy of the
March 23lrd order lifting the stay and ordering them to respond to the complaint until May
3, 2005. For good cause shown, Defendants have twenty (20) days from the date of this
order to respond to the complaint and to respond to Plaintiff"s motion for summary
judgment

IT IS SO ORDERED.

A.M

JA S D. TODD
UN ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:04-CV-01174 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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Raymond Andrew Clark
W.T.S.P.

292729

P. O. BoX 1150

Henning, TN 38041--1 15

Honorable J ames Todd
US DISTRICT COURT

